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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                                  :~L~-~t 2D          11
             UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                  V.                                  (For Offenses Committed On or After N()vember I, 1987)·
                   JOSEPH BARRIOS (4)
                                                                         Case Number:         13CR2196.:::rbS    .-.   vJf
                                                                      MARK 1. WERKSMAN
                                                                      Defendant's Attorney
REGISTRA TION NO.                 65081112
 o ­
 IZI pleaded guilty to count(s)          1 of the Superseding Indictment

 o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is ad.judged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Count
Title & Section                        Nature of Offense                                                                  Number(s)
18 USC 1962(d)                         Racketeering Conspiracy to Conduct Enterprise Affairs                                 I




     The defendant is sentenced as provided in pages 2 through                               of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZI Count(s)    (remaining counts)                             are         dismissed on the motion of the United States.

 IZI   Assessment: $100.00 imposed



 o No fine                             Forfeiture pursuant to order filed         10/16/2015                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                       Octobecl6.2015
                                                                       Date of Imposition of Sentence


                                                                                                                             ~




                                                                                                                          13CR2196-JLS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 Eighteen (18) Months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:

       Incarceration at FCI LOMPOC
       Residential Drug Abuse Program (RDAP)


 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at                              AM.               on
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ~
       Prisons:
       ~    on or before January 22, 2016 before 12:00 PM
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ________________________ ro _____________________________

 at _ _ _ _ _ _ _ _ _ _ _~, with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        13CR2196-JLS
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) Years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as detennined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
tenn of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
o           substance abuse. (Check, if applicable.)
181         The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
181         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the tenn of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
       1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted pennission to do so by the probation officer;
       10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view of the probation officer;
        II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
            the court; and
        13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
               with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION

   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
      data storages devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a conditions of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§3563(b)(23); 3583(d)(3).

   2. Participate in a program of mental health treatment as directed by the probation officer, take all
      medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
      permission. The court authorizes the release of the presentence report and available psychological
      evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based
      on ability to pay.

   3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

   4. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   5. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   6. Abstain from all use of alcohol.

   7. Attend Gamblers Anonymous Meetings as directed by the probation officer.

    8. Not enter any gambling establishments or participate in any gambling activities.


    9. Notify the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or
       indirectly, including any interest obtained under any other name, entity, including a trust, partnership, or
       corporation, until fine is paid in full.


    10. Notify the Collections Unit, U.S. Attorney's Office, before transferring any interest in any property owned
        directly or indirectly by the defendant, including any interest held or owned under any other name or
        entity, including trusts, partnerships, or corporations, until fine is paid in full.




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                                                  FINE

The defendant shall pay a fine in the amount of     $40,000                  unto the United States of America.



This sum shall be paid    ~    as follows:


Pay a fine in the amount of $40,000.00 through the Clerk, U.S. District Court. Payment offine shall be
forthwith. During any period of incarceration, the defendant shall pay the fine through the Inmate Financial
Responsibility Program at the rate of 50% ofthe defendant's income, or $25.00 per quarter, whichever is
greater. The defendant shall pay the fine during his supervised release at the rate of $50.00 per month. These
schedules do not foreclose the United States from exercising all legal actions, remedies, and process available
to it to collect the fine judgment at any time

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.

The Court has determined that the defendant does have the ability to pay interest. It is ordered that defendant
interest requirement is waived.




                                                                                                    13CR2196-JLS
